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The following transaction was received from SMITH, ALAN R entered on 5/30/2007 at 5:02 PM PDT
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Case Name: USA COMMERCIAL MORTGAGE COMPANY

Case Number: 06-10725-lbr

Document Number: 3854

Docket Text:
Declaration Of: DONNA CANGELOSI Filed by ALAN R SMITH on behalf of DONNA CANGELOSI,

LENDERS PROTECTION GROUP (Related document(s)[3853] Opposition filed by Creditor DONNA
CANGELOSI, Creditor LENDERS PROTECTION GROUP) (Attachments: # (1) Exhibit A-D# (2)
Exhibit E-F# (3) Exhibit G-H# (4) Exhibit H - Part 2# (5) Exhibit H - Part 3# (6) Exhibit I) (SMITH,
ALAN)

The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:H:\LPG\Decl Cangelosi 053007.pdf

Electronic document Stamp:

[STAMP bkecfStamp_ID=989277954 [Date=5/30/2007] [FileNumber=8165281-0]
[8cd097405945ecal 76a1c0b830520fcf7bb267aa0d4401 03f5bd66fff1 205947260
d184ac5acc494£653770f433e0547fb4e7 10313 1908177f15e99920baa22]]
Document description:Exhibit A-D

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[STAMP bkecfStamp_ID=989277954 [Date=5/30/2007] [FileNumber=8165281-1]
[9991542984e26c248a34a488eebed267eea9 1 d588c5 1 £64886a24 | ef304fa86a8b30
dd48cb0140526c673fdbfe72£3 708722 7a55445f8c7502d61c3828777fcf]]
Document description: Exhibit E-F

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[STAMP bkecfStamp_ID=989277954 [Date=5/30/2007] [FileNumber=8 165281-2]
[99£f50218045541947544025c2688f41055a99bc90 1 dd95bfa49806f5c1laee90f575

d5c6a7£9c7d992b647ec759432a2 1 36£4e42c9c6645e5913377b04ba8f2e]] et MBIT «
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Document description:Exhibit G-H
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Electronic document Stamp:

[STAMP bkecfStamp_ID=989277954 [Date=5/30/2007] [FileNumber=8165281-3]
[af90166166547a5dfcdabe7 1 bdeb45a8f4d0f92a553fb4523f1 0c6463b6844463eee
Oef4012£730657a2f5 193b77ef83720d757 1 lacf6bffl 3e899920c62384b] ]
Document description:Exhibit H - Part 2

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[STAMP bkecfStamp_ ID=989277954 [Date=5/30/2007] [FileNumber—8165281-4]
[6bc590a377f4a7 1 36ea2cb462fba5f75cc | fbfb4a861651511c32ecfbf178ad3d61b
3b3cfcf656de5a9187b408b7682cf6d8a67cbda5 1325d82£832899c6644f]]
Document description:Exhibit H - Part 3

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Electronic document Stamp:

[STAMP bkecfStamp_ID=989277954 [Date=5/30/2007] [FileNumber=8165281-5]
[da0dc77e7ce1 5c7acc64c0a6529fbea988e5 1 8b12b1 4cdcc66 1 be lee9f765e0de38c
e2c80ee8309¢59b52d982 1 b5cd77d726a585e503de423d9dfl 8554a42b50]]

Document description:Exhibit I
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[STAMP bkecfStamp ID=989277954 [Date=5/30/2007] [FileNumber=8165281-6]
[334e2ba58986d0c94da645cc5bdd071074222d6b377 | efc6abS0f4bab60abe4e97 12
72fal3418d32ae94£59dd09fa03435 | Sde6da4cd3bde40bb6cb1c8fcbff]]

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Miscellaneous:

06-10725-Ibr USA COMMERCIAL MORTGAGE COMPANY

U.S. Bankruptcy Court
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Case Number: 06-10725-Ibr

Document Number: 3855

Docket Text:

Declaration Of: ROBERT BENDER Filed by ALAN R SMITH on behalf of DONNA CANGELOSI,
LENDERS PROTECTION GROUP (Related document(s)[3853] Opposition filed by Creditor DONNA
CANGELOSI, Creditor LENDERS PROTECTION GROUP) (Attachments: # (1) Exhibit A-C)
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[030a9d247ad4a621675 fa6ef87df8ab5 14984738762c826a857cfl 03fa225729b5a8
cef27al48f93bdd586beb789df2ee9eb8055b1elafd91a8b1 aafe2426fd9]]
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[158b2261dc336b837b38 1ca53ec071£4197e1 986acca26ca87199789deb6ad9cefd97
efa4ebb16000£808fe652ab6259 1 0b87650e249f3c0a7 12a0c3e173eb1e0]]

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